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IN THE UNITED STATES DIsTRICT CoURT F"£D m -MC~
FoR THE WESTERN DISTRICT oF TENNESSE l l
WESTERN DIVISION 55 JUN 2| PH r). £...

ROBERT R. Dl TRGLIO

ISSAC LEE HYKES, CLERK, U.S. DIST. CT.
W.D. OF 'I`N, MEMPH|S
Plaintiff,
vS. CIVIL NO. 05-2037- MA/P
JOHN W. SNOW,

Secretary, Department of the Treasury,
lntemal Revenue Service,

Defendant.

 

P'R'BPO‘S'ED` SCHEDULING ORDER

 

Pursuant to Written notice, a scheduling conference Was held June 23, 2005. Present
were Darrell J. O’Neal, counsel for plaintiff, and Linda N. Harris, counsel for defendantsl At
the conference, the following dates Were established as the final dates for:

1. Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(l): July 12, 2005

2. Joining Parties: August 23, 2005.

3. Amending Pleadings: September 23, 2005

4. Initial Motions to Dismiss: Octoberr 23, 2005

5. Completing All Discovery: February 23, 2006

(a) Document Production: February 23, 2006
(b) Deposition, Interrogaton'es, Requests for Admissions: February 23, 2006

(c) Expert Witness Diselosures:

()l Disclosure 0fPla1nt1ff’s Rule 26 Expert December 23 2005
Thls document entered on the clocij \z
with Rule 58 and{or 79(a) FRCP on

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(2) Disclosure of Defendant’s Rule 26 Expert: January 23, 2006
(3) Expert Witness Depositions: February 23, 2006
6. Filing Dispositive Motions: March 23, 2006
This case is set for a non-jury trial, and the trial is expected to last 1-2 days. The pretrial
order date, pretrial conference date, and the trial date Will be set by the presiding judge
The parties cannot assess whether this case is appropriate for ADR until some discovery
has been conducted The parties are ordered to notify the Court no later than February 23, 2006,
if they believe ADR is appropriate
The parties have not consented to trial before the magistrate judge
This Order has been entered after consultation With the parties pursuant to notice.

Absent good cause shown, the scheduling dates Set by this Order Will not be modified or

extended

rr ls So ORDERED. m

TU M. PI-IAM
UNITED STATES MAGlSTRATE .TUDGE

Date: ’:K\JU._ ll,r LOQ\/

 

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A 'I`TL HARRIS
Assistant United States Attorney

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:05-CV-02037 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

